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 8                                UNITED STATES DISTRICT COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
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11   THUY THANH ALONZO,                            CV 21-7818 PA (JEMx)

12                 Plaintiffs,                     JUDGMENT
13          v.
14   IPP-STORES, LLC
15                 Defendants.
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18          Pursuant to the Court’s December 3, 2021 Minute Order dismissing this action for
19   lack of prosecution and for failure to comply with a Court order,
20          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that this action is
21   dismissed without prejudice.
22          IT IS SO ORDERED.
23
24   DATED: December 3, 2021                           _________________________________
                                                                  Percy Anderson
25                                                       UNITED STATES DISTRICT JUDGE
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